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                       IN THE UNITED STATES DISTRICT COURT
                            MIDDLE DISTRICT OF FLORIDA
                                ORLANDO DIVISION

               Case Number:__________________-CIV-_____________________

RAYMOND T. MAHLBERG,
       Plaintiff,
v.

J. CHOO USA INC.,
       Defendant.
________________________________/

                     COMPLAINT FOR PERMANENT INJUCTIVE RELIEF

       COMES NOW, Plaintiff Raymond T. Mahlberg (“Plaintiff “or “Mahlberg”), by and

through undersigned counsel, files this Complaint for Permanent Injunctive Relief pursuant to Title

III of the Americans with Disabilities Act of 1990, as amended, 42 U.S.C. §§s 12181-12189

(“ADA”), 28 U.S.C. §2201 and 2202 as well as 28 CFR Part 36 Regulations. Plaintiff state as

follows:

                        INTRODUCTION AND NATURE OF THE ACTION

       1. This Court has jurisdiction over this case based on federal question jurisdiction, as

provided in 28 U.S.C. §1331 and the provisions of the ADA.

      2. Plaintiff is a visually-impaired and legally blind person (disabled) who requires

assistance through screen-reading software to read website content using his computer. Plaintiff

uses the term “blind” or “visually impaired” as legally blind. Disable as defined by ADA and

Amendment acts of 2008, 42 USC §12101 (ADAAA).




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        3. In the statutory text, Congress determined that "individuals with disabilities continually

encounter various forms of discrimination," including "communication barriers". 42 U.S.C. §

12182(a).

        4. Defendant’s adjunct website https://us.jimmychoo.com/en/home specifically the

Florida website (the “Website” or “Defendant’s website”) is not fully or equally accessible to

blind or visually impaired consumers in violation of the “ADA.” As a result, Plaintiff seeks a

permanent injunction to cause a change in J CHOO USA, INC (“Defendant” or “Jimmy Choo”)

policies, practices and procedures so that Defendant’s website will become, and remain,

accessible to blind. Plaintiff seeks injunctive relief, attorneys’ fees and costs, including, but not

limited to, court costs and expert fees, pursuant to Title III of the Americans with Disabilities Act

of 1990, as amended, 42 U.S.C. §§s 12181-12189 (“ADA”) and 42 U.S.C. 2000a-3(a). See also

28 U.S.C. 2201 and 2202 as well as ADA 28 CFR Part 36 Regulations.

        5. Plaintiff is unaware of the true names, identities, and capacities of all responsible parties

(defendants) being sued. Plaintiff will seek leave to amend this complaint to allege the true names

and capacities if and when ascertained. Plaintiff is informed and believes, and thereupon alleges,

that each Defendant sued is legally responsible in some manner for the events and happenings

alleged herein and that each of Defendant sued here proximately caused injuries and damages to

Plaintiff as set forth below.

        6. Throughout the ADA, "auxiliary aids and services" refers to techniques and devices to

overcome barriers in communicating with people who have visual and hearing impairments,

among other things. See 42 U.S.C. 12103(1).

        7. Implementing these provisions, see 42 U.S.C. § 12186(b), the Attorney General's Title

III regulations require public accommodations to "furnish appropriate auxiliary aids and services



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where necessary to ensure effective communication with individuals with disabilities." 28 C.F.R.

§ 36.303(c)(1). The regulations specifically list "screen reader software," "magnification

software," and "accessible electronic and information technology" as among the auxiliary aids

that the statute requires. 28 C.F.R. § 36.303(b)(2).

        8. Plaintiff is sui juris, and he is disabled as defined by the ADA and ADA Amendments

Act of 2008, 42 U.S.C. §12101 (“ADAAA”). Defendant’s failure to design, construct, maintain,

and operate its https://us.jimmychoo.com/en/home to be fully and equally accessible to and

independently usable by Plaintiff, constitutes in Defendant’s denial of full and equal access to its

website, and therefore denial of its products and services offered thereby in conjunction with its

physical location(s), resulting in a violation of Plaintiff’s rights under the Americans with

Disabilities Act (“ADA”).

        9. Defendant’s website is https://us.jimmychoo.com/en/home. The Defendant owns and

operates     the    Websites,      the    mobile     application      for    e-commerce       and     several

https://us.jimmychoo.com/en/home clothing stores that are located in Florida.

        10. Plaintiff Raymond T. Mahlberg, a blind veteran of the U.S. military, residing in

Orlando, Florida brings this action under the Americans with Disabilities Act in Federal Court.

        11. Blind and visually impaired citizens must use screen reading software 1 or other

assistive technologies in order to access website content.

        12. Plaintiff cannot use his computer and mobile device browser without the assistance of

appropriate and available screen reader software to understand websites.




1
 “screen reader” is a software application that enables people with severe visual impairments to use a computer.
Screen readers work closely with the computer's Operating System (OS) to provide information about icons, menus,
dialogue boxes, files and folders.


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        13. Defendant’s website contains digital source code barriers where screen-readers for the

blind do not work.

        14. This case arises out of the fact that Defendant Jimmy Choo has operated its business

in a manner and way that effectively excluding individuals who are visually impaired from access

to Defendant websites https://us.jimmychoo.com/en/home based upon Defendant’s failure to

provide auxiliary aids and services for effective communications.

        15. Plaintiff seeks injunctive relief pursuant to 28 U.S.C. §§ 2201 and 2202.

        16. Plaintiff, a legally blind person, is impeded to access and communicate with Defendant

effectively and timely such that allowing access to Defendant’s various business locations; as

such impediment as rendered Defendant’s physical places of accommodation not fully accessible

to the visually impaired.

        17. Plaintiff has attempted to access Defendant’s Website in the past and intends to

continue to attempt to access Defendant’s Websites https://us.jimmychoo.com/en/home and

mobile e-commerce application as a service and benefit provided by the Jimmy Choo.

        18. However, unless Defendant is required to eliminate the access barriers at issue and

required to change its policies so that access barriers do not reoccur on Defendant’s Website

https://us.jimmychoo.com/en/home, Plaintiff will continue to be denied full access to Jimmy

Choo’ website.

                                JURISDICTION AND VENUE

        19. Plaintiff resides in Orlando, Florida. Defendant has shops throughout the State of

Florida. Defendant conducts and continues to conduct a substantial and significant amount of

business in this District.




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       20. Venue is proper pursuant to 28 U.S.C. §1391, in the Middle District of Florida where

defendant resides and a substantial part of the events giving rise to the claims occurred. Personal

jurisdiction exists when the Defendant purposefully availed itself of the conducting activities

within the forum State.

       21. Plaintiff’s claims asserted herein arose in this judicial district.

       22. Plaintiff is a resident of Orlando, FL 32817. Plaintiff was told that there is a Jimmy

Choo’s shop in his area.

       23. This is an action injunctive relief pursuant to Title III of the Americans with Disabilities

Act, 42 U.S.C. §§12181-12189 (“ADA”), 28 C.F.R. § 36.201 and to prevent discrimination which

includes equal access and effective communications with Defendant’s business. This Court has

jurisdiction under 28 U.S.C. §§ 1331 and 1343.

       24. Defendant is subject to personal jurisdiction in this District. Defendant has been and is

committing the acts or omissions alleged herein in the Middle District of Florida that caused injury,

and violated rights prescribed by the ADA to Plaintiff. A substantial part of the acts and omissions

giving rise to Plaintiff’s claims occurred in the Middle District of Florida. Specifically, on several

separate occasions, Plaintiff has been denied the full use and enjoyment of the facilities, goods,

and services of Defendant’s website in Florida. The access barriers Plaintiff encountered on

Defendant’s website have caused a denial of Plaintiff’s full and equal access multiple times in the

past, and now deter Plaintiff on a regular basis from accessing Defendant’s website. Plaintiff would

like to become Defendant’s patron and access the Defendant’s website in the near future but the

barriers Plaintiff encountered on Defendant’s website have impeded Plaintiff’s full and equal

enjoyment of goods and services offered at Defendant’s brick-and mortar stores. Defendant J Choo




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USA Inc is authorized to conduct, and is conducting, business within the State of Florida and

within the jurisdiction of this court.

                                           THE PARTIES

          25. Plaintiff Mahlberg, is a resident of the State of Florida. Plaintiff resides in Orlando.

Mahlberg is legally blind, and a member of a protected class under the ADA. Whereby, he has a

disability within the meaning of 42 U.S.C. § 12102(1)-(2), the regulations implementing the ADA

set forth at 28 CFR §§ 36.101 et seq. and in 42 U.S.C. 3602, §802(h). Plaintiff suffered an assault

to the back of his head in 2004 which caused damage and atrophy of the optic nerve, and as a

consequence, is legally blind. Plaintiff is a legally blind individual who has a physical impairment

that substantially limits the major life activity of seeing. Accordingly, he has a disability within

the meaning of 42 U.S.C. § 12102 and 28 C.F.R. § 35.104. Plaintiff is a qualified individual with

a disability within the meaning of 42 U.S.C. § 12131(2), 29 U.S. Code § 794 and 28 C.F.R. §

35.104.

        26. Plaintiff cannot use the computer without the assistance of a screen reader software.

Mahlberg is a proficient user of the JAWS screen-reader to access the internet." JAWS, or "Job

Access With Speech," Voiceover (Apple’s screen reader) or NVDA (Windows’s screen reader)

are the most popular screen reading software for computers and mobile phones. For screen-reading

software to work, the information on a website must be capable of being rendered into text.

Usually, this means that graphics and embedded hyperlinks must include alternative text (known

as "alt-text")—a description of the image that appears when a cursor floats over it or screen-reading

software detects it.

          27. Jimmy Choo USA Inc. is a Foreign Profit Corporation from New York. Defendant is

the owner and operator of a chain of hundreds of fashion clothing stores under the brand name



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Jimmy Choo. The J CHOO USA company produces and distributes fashion clothing to its shops

and distributors in Florida.

       28. Upon information and belief, at all times material hereto, Defendant J Choo USA Inc

owns, operates, and/or manages the day-to-day affairs of Jimmy Choo fashion stores which are

operating within Orlando in the State of Florida. Defendant’s store are public accommodations

pursuant to 42 U.S.C. § 12181(7)(E).

       29. Plaintiff believes, and thereon alleges, that defendant Jimmy Choo corporate affiliates

and/or related entities, actively engaged in the sale of apparel in various states throughout the

country, including Florida.

       30. Plaintiff is further informed that said companies are organized and existing under, and

by virtue of, the laws of the state of New York. Defendant’s headquarters and principal corporate

offices located in New York. Said Defendant entities will hereinafter collectively be referred to as

“Jimmy Choo” or, where appropriate, “Defendant.”

                                             FACTS

       31. Defendant is defined as a “Place of Public Accommodation" within meaning of Title

III because Defendant is a private entity which owns and/or operates “[A] bakery, grocery store,

clothing store, hardware store, shopping center, or other sales establishment,” 42 U.S.C.

§12181(7)(E) and 28 C.F.R. §36.104(5).

       32. Each of Defendant Jimmy Choo stores are open to the public and each is a Place of

Public Accommodation subject to the requirements of Title III of the ADA and its implementing

regulation as “[A] … other sales establishment,” as defined by 42 U.S.C. §12181(7)(E); §12182,

and 28 C.F.R. Part 36.

       33. Jimmy Choo offer fashion clothing and accessories for sale to the general public.



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       34. Defendant has control over its website content, design and source-code, and/or operates

his web pages, including image and data content. Defendant owns and operate the domain name

https://us.jimmychoo.com/en/home that is configured for use by mobile devices such as

smartphones, as well as regular computer laptops and desktops to access Defendant’s website.

       35. One of the functions of Defendant’s website (available to browse in mobile or computer

version) is to provide the public information on the various locations of Defendant’s stores that

sell fashion clothing and accessories. The other function of the website is to sell Defendant’s

products.

       36. Defendant’s Website is offered by Defendant as a way for the public to communicate

with Jimmy Choo’s fashion products. Defendant’s Website also permits the public to register and

create an account allows the general public to order and purchase fashion clothing merchandise,

provides information about its products, and (among other things) provides: customer service,

locate a shop.

       37.Plaintiff would like to be able to pre-shop the Defendant’s stores to determine whether

certain items are available at the stores before he leaves home. He would like to take advantage of

special sales in store that he would like to locate the nearest store from his home or at real-time

location when not at home.

       38. The Website is an integral part of the goods and services offered by Defendant’s store,

because website and physical stores are heavily integrated, since the website allows the public the

ability to locate Defendant’s stores, retail locations that sells apparel and accessories.

       39. The website is an extension of defendant’s physical stores. By this nexus, between the

store and the Website is characterized as a Place of Public Accommodation pursuant to Title III,

42 U.S.C. §12181(7)(E) of the ADA.



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       40. Plaintiff is a customer of Jimmy Choo stores since his intent to continue visiting a

Jimmy Choo clothing store near his home. Plaintiff through his inquiries he learned there are some

Jimmy Choo’s store in his area.

       41. As a result of Plaintiff being legally blind, before he embarks on any venture from his

home, he studies the location where he is seeking to patronize through using the internet. In the

case of Plaintiff’s investigation of Jimmy Choo’s store locations, Plaintiff went to Defendant’s

website to learn (1) how to navigate to and from Jimmy Choo’s store locations open in his area;

(2) the cost of handbags and apparel; (3) times and hours of operation Jimmy Choo’s stores in his

area, so he can arrange transportation with the intent of purchasing Jimmy Choo’s fashion

merchandise; (4) products exclusive online deals and information; (5) register online (create an

account); (6) read the privacy policy; (7) find and read the notice of accessibility.

       42. Like most consumers, Plaintiff accesses numerous websites at a time to compare quality

and prices.

       43. During Plaintiff’s several visits to the website using JAWS and NVDA (computer) and

Voiceover (cell-phone browsing) occurring in August 2, 2020 and the last in December 1, 2020,

the plaintiff encountered multiple access barriers that denied the plaintiff full and equal access to

the facilities, goods and services offered to the public and made available to the public; and that

denied the plaintiff the full enjoyment of the facilities, goods, and services of the Website, as well

as to the facilities, goods, and services of Defendant’s locations in Florida, specially near his home.

       44. Plaintiff was impeded to patronize Jimmy Choo’s stores by Plaintiff being unable to

learn about Jimmy Choo’ location addresses, hours, purchase fashion clothing and handbags, as

well as learn about the offers available online, and the ability to create an online account, read the

Return and Privacy Policy, among other things readily available to sighted individuals.



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       45. Following communications with Defendant’s representative, Plaintiff attempted to

utilize Defendant’s Website as instructed by Defendant’s representative.

       46. Defendant’s Website was inaccessible, so Plaintiff could not (among other things):

               a.     Find out about Jimmy Choo clothing and bags available online or at the store;

               b.     Locate Jimmy Choo’s stores near Plaintiff’s home;

               c.     Learn about buying Jimmy Choo’s men clothing, since Plaintiff purchase

               fashion clothing on a regular basis;

               d.     Plaintiff attempted to locate an “Accessibility Notice” on Defendant’s

               computer website which would direct him to a webpage with contact information

               for disabled individuals who have questions, concerns, or who are having

               difficulties communicating with the business. However, Plaintiff was unable to do

               so because no such link or notice was provided on Defendant’s website.

                         AMERICAN WITH DISABILITIES ACT

       47. The failure to access the information needed precluded Plaintiff’s ability to patronize

Jimmy Choo’ stores because, as a blind individual, Plaintiff needs to plan his outings out in detail

in order to have the proper financing for a venture, and insure that he arrives at a given location.

       48. Title III provides that “no individual shall be discriminated against on the basis of

disability” in “any Place of Public Accommodation.” 42 U.S.C. § 12182(a). As defined in Title

III, the term “public accommodation” includes a “store and sales establishment” Id. § 12181(7)(E).

Defendant J Choo USA Inc owns and operates stores, Jimmy Choo.

       49. Technology evolves, in these days, consumers are doing most of their shopping online.

Defendant’s provision of an e-commerce website is an essential part of the services offered and is




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no different than the customer service to the public as part of Jimmy Choo’s stores services,

privileges and benefit to the public.

         50. Title III ADA Part 36 regulation was amended to integrate section 36.303 Auxiliary

Aids and Services “A public accommodation shall furnish appropriate auxiliary aids and services

where necessary to ensure effective communication with individuals with disabilities.”

         51. By this nexus, the website https://us.jimmychoo.com/en/home is characterized as an

intangible service, privilege and advantage provided by Jimmy Choo a Place of Public

Accommodation as defined under the ADA, and thus its websites and mobile application are an

extension of Jimmy Choo services, privileges and advantages made available to the general public

by Defendant through its retail brick and mortar stores.

         52. Defendant’s Website is not designed with substantial consideration for WCAG,

Accessible Rich Internet Applications (ARIA) software language and Universal design 2. The

World Wide Web Consortium (the principal standards-setting body for the web) has issued a set

of "Web Content Accessibility Guide-lines" (WCAG) to assist developers in making their websites

accessible to blind people and other individuals with disabilities.

         53. Plaintiff’s expectation of participating in Jimmy Choo’s website, services, rewards

and privileges was eliminated since he could not access Defendant’s

https://us.jimmychoo.com/en/home website at all to avail himself of the latest services which

Defendant offers to the public.




2
 Following universal design principles in creating a website provides access to all users regardless of their abilities,
their disabilities, or the limitations of their equipment and software. Washington University. “Universal design is the
design of products and environments to be usable by all people, to the greatest extent possible, without the need
for adaption or specialized design.” Kalbag, Laura (2017).


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       54. The access barriers Plaintiff encountered on Defendant’s website have caused a denial

of Plaintiff’s full and equal access multiple times in the past, and now deter Plaintiff on a regular

basis from accessing Defendant’s website https://us.jimmychoo.com/en/home.

       55. Plaintiff would like to become Defendant’s patron and access the Defendant’s website

and mobile application in the near future but the barriers Plaintiff encountered on Defendant’s

https://us.jimmychoo.com/en/home website has impeded Plaintiff’s full and equal enjoyment of

goods and services offered at Defendant’s brick-and mortar stores.

       56. The fact that Plaintiff could not access the Defendant’s Website and could not

comprehend the electronic pages contained therein, left Plaintiff excluded from accessing Jimmy

Choo’s stores, goods and services available from Defendant and further left him with the feeling

of segregation, rejection, isolation, and unable to participate in his own business affairs (such

as in this case purchasing fashion clothing and bags) in a manner equal to that afforded to others

who are not similarly disabled.

       57. Plaintiff’s inability to fully use Defendant’s Website therein has hindered, impeded

and inhibited Plaintiff’s access to Defendant’s physical store locations. Plaintiff has suffered as a

result and has suffered particularized harm and an injury in fact.

       58. Plaintiff cannot make proper arrangements for transportation of himself to the Jimmy

Choo’s store locations without the ability to know in advance the Jimmy Choo’s goods and

services which service is available online through Defendant’s Website. Plaintiff also faces a great

degree of uncertainty of how to physically travel to Defendant Jimmy Choo’s store location.

Plaintiff is effectively denied the ability to physically travel to Defendant Jimmy Choo’s store.

       59. Plaintiff has a concrete plan to purchase Jimmy Choo’s clothing and accessories when

he is treated like other members of the public. Consequently, the Plaintiff is unable to determine



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the cost of Defendant’s goods and services, including becoming informed about the Jimmy Choo’s

products available for purchase.

        60. By denying Plaintiff the opportunity to comprehend Jimmy Choo’s website therein

due to Plaintiff’s disability (visual impairment), Defendant has denied Plaintiff the opportunity to

participate in or benefit from Defendant’s goods and services as afforded to the public.

        61. Plaintiff will suffer continuous and ongoing harm from Defendant’s omissions,

policies, and practices set forth herein unless enjoined by this Court.

        62. On information and belief, Defendant has not offered any form of website in an

accessible format for blind or visually impaired individuals.

        63. Thus, Defendant has not provided full and equal enjoyment of the services, facilities,

privileges, advantages, and accommodations provided at its stores and authorized retailers.

        64. All Public Accommodations must ensure that their Places of Public Accommodation

provide Effective Communication for all members of the general public, including individuals

with disabilities.

        65. On information and belief, Defendant is aware of the common access barriers and

barriers to effective communication within its Website and the electronic pages/data therein which

prevent individuals with disabilities who are visually impaired from the means to comprehend the

information presented therein.

        66. Defendant and alike retailers are fully aware of need to provide full access to all visitors

to its Website as Department of Justice published several communications stating that the website

is an auxiliary-aid of the physical stores and must be accessible. (September 25, 2018 letter from

Assistant Attorney General) and Title III ADA 28 C.F.R. § 36.303.




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        67. Binding case law increasingly recognize that private entities are providing goods and

services to the public through the websites that operate as “Places of Public Accommodation”

under Title III.

        68. A person who cannot see, like the Plaintiff in this case, cannot go to Defendant’s

website and avail themselves of the same privileges. Thus, the Plaintiff has suffered discrimination

due to Defendant’s failure to provide a reasonable accommodation for Plaintiff’s disability.

        69. Plaintiff has no plain, adequate, or complete remedy at law to redress the wrongs

alleged hereinabove and this suit for injunctive relief is his only means to secure adequate redress

from Defendant’s unlawful and discriminatory practices.

        70. Notice to Defendant is not required as a result of Defendant’s failure to cure the

violations. Enforcement of the rights of Plaintiff is right and just pursuant to 28 U.S.C. §§ 2201,

2202.

        71.   The Website is also a Place of Public Accommodation pursuant to 42 U.S.C.

§12181(7)(E) as the public can purchase Jimmy Choo’s merchandise online through the Website

(which meets the definition of “clothing and sales establishment‟).

        72. The Department of Justice has provided useful guidance regarding website accessibility

under the ADA, and the binding and persuasive case law in this district has applied the Web

Content Accessibility Guidelines (“WCAG”) 2.0 or 2.1 to determine accessibility.

        73. Types of website source-code programming errors include (but are not limited to)

source-code errors which are easily identifiable and are prone to making the website inaccessible,

that create empty headings and text fields that create confusion for a user that rely on the “TAB”

key to navigate a web page.




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       74. A sampling review of just part of it revealed that the Website is not functional for users

who are visually impaired. The Website contains several types of errors, easily identifiable and

correctable, which occur throughout the Website such as:

        a. Each a element must contain text or an img with an alt attribute. WCAG 2.0 F89.

        b. HTML form control has no accessible name. WCAG 2.0 F65.

        c. Clickable controls should be keyboard accessible. WCAG 2.0 A F15.

        d. The visual label must appear in the accessible name of links and controls. WCAG

             2.0 F96.

        e. Duplicate id - the same ID is used on more than one element. WCAG 2.0 A 411.

        f.   All fieldset elements should be labeled with legend elements. WCAG 2.0 H71

       75. More violations may be present on webpages of the Website, and they will be

determined and proven through the discovery process and expert audit.

       76. Enforcement of Plaintiff’s rights under the ADA is right and just pursuant to 28 U.S.C.

§§ 2201 and 2202 and Title III ADA Subpart E Section 36.501.

       77. Plaintiff has retained the law office of Acacia Barros, Esq. and has agreed to pay a

reasonable fee for services in the prosecution of this cause, including costs and expenses incurred.

Plaintiff is entitled to have reasonable attorneys’ fees, costs and expenses paid by Defendant J

Choo USA Inc.

   COUNT I – VIOLATIONS OF THE AMERICANS WITH DISABILITIES ACT

       78. Part 36 of Title 28 of the C.F.R. was designed and is implemented to effectuate subtitle

A of Title III of the ADA, which prohibits discrimination on the basis of disability by Public

Accommodations and requires Places of Public Accommodation to be designed, constructed, and

altered in compliance with the accessibility standards established by Part 36 Regulation.



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       79. Defendant’s Website has not been designed to interface with the widely and readily

available technologies that can be used to ensure effective communication.

       80. As delineated above and pursuant to 42 U.S.C. §12181(7)(E), Defendant is a Public

Accommodation       under     the    ADA       because     it    owns     and/or       operates   the

https://us.jimmychoo.com/en/home website which is defined within §12181(7)(E), and is subject

to the ADA.

       81. In addition, Defendant’s representatives within its store locations have referred

customers to Defendant’s Website. By Defendant’s representatives referring the public/visually

impaired individuals to its Website for basic information needed to shop at a Jimmy Choo’s store,

instead of providing such information at the physical store locations, the Website has been

rendered an integral part of Defendant’s physical store locations. Thus, the failure of that Website

contained therein to be accessible to visually impaired individuals impedes visually impaired

individuals (such as Plaintiff) from access to Defendant’s physical store locations.

       82. The ADA applies to the Defendant’s Website, as the Website is a Place of Public

Accommodation for the following reasons: (1) the statutory construction of the ADA demonstrates

its applicability is not limited to physical “brick and mortar” locations; (2) Congress‟ intent was

for the ADA to be responsive to changes in technology; and (3) the Department of Justice has

interpreted the ADA to apply to websites.

       83.    No notice is required because under Title III of the ADA, 42 U.S.C. §

12182(b)(1)(A)(II), it is unlawful discrimination to deny individuals with disabilities or a class of

individuals with disabilities an opportunity to participate in or benefit from the goods, services,

facilities, privileges, advantages, or accommodation, which is equal to the opportunities afforded

to other individuals.



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       84. Unlawful discrimination includes “a failure to make reasonable modifications in

policies, practices, or procedures, when such modifications are necessary to afford such goods,

services, facilities, privileges, advantages, or accommodations to individuals with disabilities,

unless the entity can demonstrate that making such modifications would fundamentally alter the

nature of such goods, services, facilities, privileges, advantages or accommodations.” 42 U.S.C. §

12182(b)(2)(A)(II).

       85. Unlawful discrimination also includes “a failure to take such steps as may be necessary

to ensure that no individual with a disability is excluded, denied services, segregated or otherwise

treated differently than other individuals because of the absence of auxiliary aids and services,

unless the entity can demonstrate that taking such steps would fundamentally alter the nature of

the good, service, facility, privilege, advantage, or accommodation being offered or would result

in an undue burden.” 42 U.S.C. § 12182(b)(2)(A)(III).

       86. Defendant is in violation of the ADA by creating barriers for individuals with

disabilities who are visually impaired and who require the assistance of interface with screen reader

software to comprehend and access websites and electronic documents. These violations are

ongoing.

       87. As a result of the inadequate development and administration of Defendant’s Website,

Plaintiff is entitled to injunctive relief pursuant to 42 U.S.C. §12133 and §12188, also 28 C.F.R.

§36.501 to remedy the discrimination.

       88. Pursuant to 42 U.S.C. §12188, this Court is vested with the authority to grant Plaintiff

Mahlberg injunctive relief; including an order to:

             a)        Require Defendant take the necessary steps to make the Website readily

             accessible to and usable by visually impaired users, and during that time period



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             prior to the https://us.jimmychoo.com/en/home website’s being readily

             accessible, to provide a temporary alternative method for individuals with visual

             impairments to access the information available on the Website until such time

             that the requisite modifications are made. Title III American with Disabilities Act

             Part 36 Regulation.

             b)   Require Defendant to provide periodic maintenance of the accessible

             website thru the appropriate auxiliary aids such that individuals with visual

             impairments will be able to always receive effectively communication with the

             Website for purposes of viewing and locating Jimmy Choo’s stores and becoming

             informed of and signing up for Jimmy Choo’s clothing products online, and of

             viewing electronic documents provided to the public within Defendant’s Website.

             c) During the time period prior to the Website’s being designed to permit

             individuals with visual impairments to effectively communicate, requiring

             Defendant to provide an alternative method for individuals with visual

             impairments to effectively communicate so they are not impeded from obtaining

             the goods and services made available to the public. Title III ADA Part 36

             Regulation.

       89. For all of the foregoing, the Plaintiff has no adequate remedy at law.

                                   DEMAND FOR RELIEF

       WHEREFORE, Plaintiff RAYMOND T. MAHLBERG hereby demands judgment

against Defendant J. CHOO USA, INC. and requests the following injunctive relief permanently

enjoin Defendant from any practice, policy and/or procedure which will deny Plaintiff equal access

to, and benefit from Defendant’s services and goods, as well as the Court:



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   a. That the Court issue a Declaratory Judgment that determines that the Defendant’s websites

   at the commencement of the subject lawsuit is in violation of Title III of the Americans with

   Disabilities Act, 42 U.S.C. § 12181 et seq.;

   b. That the Court enter an Order directing Defendant to continually update and maintain their

   computer version of the defendant’s websites to ensure that it remains fully accessible to and

   usable by visually impaired individuals;

   c. That the Court issue an Injunctive relief order directing Defendant to alter their website to

   make it accessible to, and useable by, individuals with disabilities to the full extent required by

   Title III of the ADA;

   d. That the Court enter an Order directing Defendant to evaluate and neutralize their policies

   and procedures towards persons with disabilities for such reasonable time so as to allow

   Defendant to undertake and complete corrective procedures;

   e. Further requests the Court to retain jurisdiction for a period to be determined to ensure that

   Defendant has adopted and is following an institutional policy that will in fact cause Defendant

   to remain fully in compliance with the law;

   f. That the Court enter an award of attorney’s fees, costs and litigation expenses pursuant to 42

   U.S.C. § 12205; and Title III of the ADA Section 36.505.


                                              Respectfully submitted,

Dated this 3rd day of December 2020.          s/Acacia Barros

                                               Attorney for Plaintiff
                                               ACACIA BARROS, P.A.
                                               Acacia Barros, Esq.
                                               FBN: 106277
                                               11120 N. Kendall Dr., Suite 201
                                               Miami, Florida 33176
                                               Tel: 305-639-8381
                                               ab@barroslawfirm.com

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                                  CERTIFICATE OF SERVICE

           I hereby certify that on this 3rd day of December 2020 that the foregoing document

has been filed using CM/ECF        system and     will   be     served via    email    when

Defendant/Defendant’s counsel enters an appearance.




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